 

Case 4:20-mj-00100-BJ Document 1 Filed 02/14/20 RROSTLBE oF ASOURT
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IN THE UNITED STATES DISTRICT COURT FER
FOR THE NORTHERN DISTRICT OF TEXAS 14 202

 

FORT WORTH DIVISION
CLERK U.S. DISTRICT CouRT
UNITED STATES OF AMERICA y: -
eputy a
Vv. No. 4:20-MJ- /OO

MIKAI WILLIAMS (01)

CRIMINAL COMPLAINT

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief:

Alleged Offense:

On or about January 22, 2020, in the Fort Worth Division of the Northern District
of Texas, defendant Mikai Williams knowingly stole, unlawfully carried and took away
from the store of Shoot Smart, the premises of a person who was then licensed to engage
in the business of dealing in firearms as defined in 18 U.S.C. § 921(a)(11), a firearm, to
wit: a Springfield Armory, Model XD Hellcat, 9mm Caliber Pistol, bearing Serial
Number AT282272, which was part of the licensee’s business inventory and had been
shipped or transported in interstate or foreign commerce, in violation of 18 U.S.C. §§
922(u) and 924(1)(1).

I, Scott C. Satcher, affiant, under oath, duly state that I am a Senior Special Agent
with the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF). I have been
employed with the ATF since August of 2003, and am currently in good standing with
said Agency. I have received hundreds of hours of training about firearms related
investigation, to include but not limited to, the issuance and execution of search warrants,
utilization of cooperating individuals, firearms identification and firearms trafficking and
investigation of those who are prohibited from lawfully possessing firearms and
ammunition. Prior to being employed with ATF, I was a Deputy with the Harris County
Sheriff's Office in Houston Texas for over nine years. In my twenty-five years in law
enforcement, I have been involved in many investigations that have resulted in the
seizure of firearms and ammunition as well as the successful prosecution of the
individuals involved.

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I know that it is a violation of:

Title 18 United States Code, Section 922(u) — for a person to knowingly steal or
unlawfully take or carry away from the person or the premises of a person who is
licensed to engage in the business of importing, manufacturing, or dealing in
firearms, any firearm in the licensee's business inventory that has been shipped or
transported in interstate or foreign commerce.

Title 18 United States Code, Section 922(g)(1) — for any person who knows he has
been convicted of a crime punishable by imprisonment for a term exceeding one
year to knowingly possess a firearm or ammunition.

This complaint is based upon my personal knowledge and conversations with

other law enforcement officers and is based upon the following information:

Probable Cause:

1.

On February 6, 2020, Grand Prairie Police Department Officer O. Garcia was
dispatched to a theft from a Federal Firearms Licensee (FFL), namely Shoot
Smart, 2440 W. Main, city of Grand Prairie, Tarrant County Texas. On arrival,
Officer Garcia met Anthony Ortiz, the store manager, who stated that the store's
security camera caught a customer stealing a Springfield Hellcat Micro Compact
9mm semi-automatic pistol on or about January 22, 2020.

Ortiz stated an inventory showed that a pistol was missing from the gun sale
counter. Having reviewed in-store surveillance camera footage, Mr. Ortiz
determined a person identified as Mikai Williams stole the gun on January 22,
2020, at approximately 7:44pm while a clerk was attending other customers.

Ortiz said that Williams and his girlfriend Royrea Johnson had used the gun range
earlier, which was booked under Johnson’s name. Johnson had presented a
driver’s license, and the store maintained a customer profile. However, Williams
paid for the range and a box of ammunition using a debit/credit card bearing his
name.

Closed circuit video footage was provided to Grand Prairie Police Department and
me as part of this investigation. Review of the video showed a black male, which
investigators have determined to be Williams, wearing a black and white jacket

 
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with the writing on the back "Trust no one with teeth" in large white letters on a
black background. Williams wears this jacket throughout the entirety of the
video. A timeline of events is as follows:

e Williams and Johnson are observed on video entering the store at
approximately 5:49 pm;

e At approximately 5:57 pm Williams is observed being shown a rifle by
Shoot Smart staff;

e Interaction between Williams and Johnson and the staff continued until
Williams and Johnson enter the range at approximately 6:05 pm, with
Williams carrying an AR style rifle and what appears to be a pistol box;

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e Both are observed exiting the range together at approximately 7:38 pm and
entering the lobby area;

e At approximately 7:38 pm Williams is observed handling a pistol hanging
on a Sales rack and placing it back;

e At approximately 7:38 pm, Williams remains very close to the same sale
rack looking at multiple firearms;

e At approximately 7:40 pm, Williams appears to hand Johnson a set of keys
and she exits the lobby. Williams then immediately stoops down to look at
pistols on the bottom row of the sales rack;

e At approximately 7:41 pm, Williams stands up with a pistol in his right
hand, concealing it against his leg.

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e Williams attempts to place it in his right jacket pocket, but it appears not to
fit;

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e Williams then removes the pistol from his pocket continuing to conceal it
against his leg before placing it inside his jacket on the left abdomen side,
keeping his back to the store staff;

 

  

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e Williams then walks over and engages store staff in conversation at the
sales counter, never showing the firearm he has concealed;
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e Johnson re-enters the lobby area and is near the sales counter with
Williams talking with staff,

e Williams never attempts to pay for the firearm before exiting the store
premises at approximately 7:44 pm;

e A different camera view from across the store lobby shows a full bottom
row of firearms on the sales rack, and when Williams stands up at 7:41 pm,
the bottom row is missing a firearm on the left hand side; that same firearm
is missing when Williams exits the range at approximately 7:44 pm.

5. Ihave reviewed Williams’ criminal history and learned that Williams has
previously been convicted of several crimes punishable by a term of imprisonment
exceeding one year, including Felony Evading Arrest Detention, Cause 1531071D,
and Felony Assault Bodily Injury Family Member, Cause 1143157D, in Tarrant
County, as well as having 3 separate misdemeanor convictions for Assault Bodily
Injury Family Member, Cause Numbers 1452019D, 1086549D and 0965287001,
also in Tarrant County.

6. On February 7, 2020, I went to Shoot Smart and contacted Anthony Ortiz, the
Store Manager, and Bryan Palmer, Inventory Manager. The firearm was identified
by packaging and factory placards as a Springfield Armory, Model XD Hellcat,
9mm Caliber Pistol, bearing Serial Number AT282272. According to acquisition
and disposition records, the firearm came into the store inventory on January 15,
2020, was received from RSR Group Inc., 4700 Amon Carter Blvd, Fort Worth,
and was valued at $764.95. A sales receipt provided to me confirmed the range to
be rented to Johnson, a “loyal customer,” and shows Williams as the cardholder
who paid by debit card bearing last 4 numbers 1663 and verified by PIN.

7. On February 10, 2020, I crafted and presented a photographic lineup of six
individuals with like characteristics to the defendant and presented it at
approximately 1:47 pm to Shoot Smart Assistant Manager David Watson, who had
contact with Williams during Williams’ time at the range. Watson positively
identified Williams from the other photos as the person he had observed on
January 22, 2020. Subsequently Watson circled, dated, timed and initialed just to
the right of the photograph of Williams.

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8. Iam an ATF interstate nexus expert and identified the missing firearm as a
Springfield Armory, Model XD Hellcat, 9mm Caliber Pistol, bearing Serial
Number AT282272. J have determined that the Springfield Armory firearm was
made outside the state of Texas and therefore travelled in or affected interstate
commerce.

Based upon this information, I respectfully submit that there is probable cause to
believe that Mikai Williams has violated the above described federal statutes, namely, 18
"U.S.C. §§ 922(u) and 924(i)(1).

SCOTT SATCHER

Special Agent
Bureau of Alcohol, Tobacco, Firearms, and Explosives

Tt
SWORN AND SUBSCRIBED before me, this L¥ day of February, 2020,
at g: So a.m. in Fort Worth, Texas.

  

 

 

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